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USDC SDNY
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FILED
UNITED STATES DISTRICT COURT DATE FILED: _/@-76 -#° _
SOUTHERN DISTRICT OF NEW YORK
x
United States of America,
ORDER
18-CR-420 (ALC)
-against-
Edwin Santana,
xX

 

ANDREW L. CARTER, JR., United States District Judge:

The Sentencing scheduled for October 28, 2020 is adjourned to January 14, 2021 at
10:00 a.m.

SO ORDERED.

Dated: New York, New York
October 16, 2020

 

 

ANDREW L. CARTER, JR.
UNITED STATES DISTRICT JUDGE

 
